                                                                                     ____ FILED   ___ ENTERED
        Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 1 of ____
                                                                      15 LOGGED                    _____ RECEIVED

                                                                                    12:52 pm, Jan 17 2023
                                                                                     AT BALTIMORE
                                                                                     CLERK, U.S. DISTRICT COURT
                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT                           DISTRICT OF MARYLAND
                                                                                     BY ______________Deputy
       I, Brian Gorman, a Special Agent with the U.S. Department of Labor Office of Inspector

General (DOL-OIG), being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     Your Affiant, along with others, is conducting an investigation of Ryan Dales

(DALES) concerning fraudulent benefits involving Unemployment Insurance (UI), the

Paycheck Protection Program (PPP) and an Economic Injury Disaster Loan (EIDL).

       2.     I make this affidavit in support of an application for a Criminal Complaint and

Arrest Warrant, charging DALES with Wire Fraud in violation of 18 U.S.C. § 1343.

       3.     I am a Special Agent with DOL-OIG, and have been so employed since July 2022.

I am currently assigned to the Baltimore Field Office, where my primary duties are to investigate

alleged criminal violations related to matters involving labor racketeering and fraud against DOL

programs. Additionally, I am currently assigned to the Maryland COVID-19 Fraud Strike Force

with an emphasis on investigating pandemic-related fraud.

       4.     Prior to DOL-OIG, I was employed with the U.S. Postal Service Office of Inspector

General (USPS-OIG) from April 2020 to July 2022 as a Special Agent, and earlier from March

2019 to April 2020 in an administrative capacity. I have completed the Criminal Investigator

Training Program at the Federal Law Enforcement Training Center in Brunswick, Georgia. Prior

to employment with DOL-OIG and USPS-OIG, I served honorably on active duty in the U.S. Air

Force from January 2013 to January 2019 as a non-commissioned officer, and continue to serve in

the Air Force Reserve. I hold a Master of Science in Homeland Security Management and a

Bachelor of Arts in Conflict Analysis and Dispute Resolution.




                                               1
            Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 2 of 15



        5.       Through my training and experience, I have become familiar with the methods and

techniques used by criminals to commit financial and other white-collar crimes, and how those

criminals conceal and store information and assets related to and derived from such criminal

activity.

        6.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other investigators and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested Complaint and

Arrest Warrant and does not set forth all my knowledge about this matter.

                      Background on Maryland Unemployment Insurance

        7.       In Maryland, a former employee of a business who has lost his or her job can

contact the Maryland Department of Labor (MD DOL) to submit a claim for UI benefits. Claims

for UI benefits are commonly submitted electronically through the use of the Internet and internet-

capable computers or other electronic devices. If the former employee meets certain requirements,

including having received sufficient wages prior to separation, they become eligible to receive UI

benefits.

        8.       Prior to April 2021, if MD DOL approved a UI claim, Bank of America (BOA),

pursuant to a contract with MD DOL, would create and mail a BOA Prepaid VISA debit card with

the claimants name on it, to the claimant based upon information received from MD DOL. MD

DOL would subsequently authorize the electronic application of UI benefits to the debit card and

continue to do so on a periodic basis if the claimant continued to file for benefits.

                  The Effect of COVID-19 on State Unemployment Insurance

        9.       On March 18, 2020, the President of the United States signed into law the Families

First Coronavirus Response Act (FFCRA), which provided additional flexibility for state


                                                  2
        Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 3 of 15



unemployment insurance agencies and additional administrative funding to respond to the

COVID-19 pandemic.

       10.      The Coronavirus Aid, Relief, and Economic Security (CARES) Act was signed

into law on March 27, 2020. It expanded states ability to provide UI for many workers

impacted by the COVID-19 pandemic, including for workers who are not ordinarily eligible for

unemployment benefits.

       11.      The CARES Act created the Pandemic Unemployment Assistance (PUA)

program. Under PUA, states are permitted to provide PUA to individuals who are self-

employed, seeking part-time employment, or otherwise would not qualify for regular UI

compensation.

       12.      To qualify for PUA benefits, an individual must not be eligible for regular UI

benefits and be unemployed, partially unemployed, or unable or unavailable to work because of

certain health or economic consequences of the COVID-19 pandemic.

                                         EIDL and PPP

       13.      The CARES ACT also established the PPP. The PPP was subsequently modified

and reauthorized by one or more Acts of Congress in 2020 and 2021. The program ended on

May 31, 2021. The PPP was available to eligible small business entities, including self-

employed individuals, sole proprietorships, and independent contractors, that together with their

affiliates (if applicable), had 500 or fewer employees. PPP loans were processed by third party

lenders, with 100% of each loan guaranteed by the Small Business Administration (SBA).

PPP loans were 100% forgivable if the borrower utilized at least 60% of the loan proceeds in the

24 weeks post disbursement, toward payroll costs, which were capped at $100,000 per employee.

The remaining 40% could have been used for eligible, business-related mortgage, rent and utility


                                                 3
         Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 4 of 15



costs. Any unforgiven portions of PPP disbursements will be serviced as loans. Among other

things, PPP applicants were required to certify that the current economic uncertainty made their

loan requests necessary to support the ongoing operations of the applicants.

         14.   In addition to PPP loans, the SBA was given the authority to make direct low-

interest, fixed-rate, long-term COVID-EIDLs to small businesses and other entities. Borrowers

could use COVID-EIDL working capital loan proceeds to make regular payments for operating

expenses and to pay business debt incurred at any time (including business credit card debt),

payroll, rent/mortgage, utilities, and other ordinary business expenses.

                                      PROBABLE CAUSE

         15.   On or about January 13, 2017, DALES was charged by criminal complaint in

U.S. District Court for the District of Maryland with Bank Fraud and Aggravated Identity Theft,

in violation of 18 U.S.C. §§ 1344 and 1028A(a)(1). Subsequently, On or about January 20,

2017, DALES had his initial appearance and was ordered detained. On or about February 2,

2017, a federal grand jury returned an indictment charging DALES with Bank Fraud Conspiracy

in violation of 18 U.S.C. § 1349, and multiple counts of Bank Fraud and Aggravated Identity

Theft.

         16.   On or about November 27, 2017, DALES was convicted of one count of Bank

Fraud conspiracy in violation of 18 U.S.C. § 1349 (Count One) and one count of Aggravated

Identity Theft (Count Five) in violation of 18 U.S.C. § 1028A(a)(1). On or about May 3, 2019,

DALES was sentenced to 38 months imprisonment as to Count One and 24 months

imprisonment, consecutive, as to Count Five.

         17.   On or about June 4, 2021, DALES, having served his sentence, was released from

the custody of the Bureau of Prisons (BOP), and his period of supervised release began.


                                                 4
           Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 5 of 15



       18.      According to the U.S. Probation and Pretrial Services, prior to his release from the

BOP and onto supervised release, DALES resided at a halfway house operated by Volunteers

of America (VOA) from approximately December 9, 2020, to June 4, 2021. 1 Specifically,

DALES resided at the VOA Residential Re-Entry Center located at 5000 E Monument St,

Baltimore, MD 21205.

       19.      Based on my investigation to date, I have identified various UI, EIDL, and PPP

applications submitted in the name of DALES and purported businesses that he allegedly

operated or controlled beginning in or about December 2020when he began residing at the

halfway houseand continuing thereafter. These UI, EIDL, and PPP applications contained

false statements and misrepresentations regarding DALES, his employment and purported

businesses. At times, the applications included fabricated documents, including fake and

fraudulent Internal Revenue Service (IRS) tax records.

       20.      All loan applications and supporting documents were submitted by DALES to

MD DOL or the SBA (or through SBA authorized lenders) electronically via the internet,

causing interstate wire communications to be sent in furtherance of the scheme to defraud. They

are discussed in turn below.

                                    December 2020 UI Claim

       21.      According to MD DOL records, on December 15, 2020, shortly after DALES

began residing at the VOA halfway house, an unemployment claim in DALESs name was

submitted under the regular UI program representing that DALES was self-employed. The IP

address used for the application was 165.117.248.240, which resolved Volunteers of America,


       1
         A halfway house is a facility that provides in-patient treatment services (e.g. mental
health, addiction) in a restricted-freedom environment, typically for those transitioning from
prison to free, independent living.
                                                 5
            Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 6 of 15



5000 East Monument Street in Baltimorethe halfway house where DALES was residing at the

time.

        22.      The application noted that DALESs occupation was Barbers [sic], but

answered No to the question of whether he worked as a Barber or Cosmetologist. In

response to the question, If self-employed, when did you stop being able to provide services,

the date 4/5/2020 was listed. The listed email address on the application was

theycallmedales@gmail.com. According to MD DOL records, later on December 15, 2020, MD

DOL advised DALES that he had not earned sufficient wages in the prior year in order to be

eligible for benefits under the regular UI program.

        23.      On July 30, 2021, over six months later, DALES reopened his original UI claim,

seeking benefits under the PUA program. 2 In order to obtain PUA benefits, a claimant is often

requested by state workforce agencies to provide documentation (e.g., IRS Form 1065, Schedule

K-1; IRS Form SS-4s, Application for EIN; IRS Form 1099, Miscellaneous Income; IRS Form

1040, Schedule C, et cetera). The purpose of requiring these such tax documents, or those

otherwise only attainable by a legitimate person or entity, is to assess how much money is earned

or paid from being self-employed, and thereby establish both eligibility and the weekly benefit

amount to which a claimant is entitled.

        24.      At the request of MD DOL, DALESs PUA claim was supported by uploading

two apparent IRS documentsa SS-4 EIN Assignment and a IRS Form 1040, Schedule C, Sole

Proprietorship Profit and Loss Statement.



        2
          As mentioned above, states are permitted to provide PUA to individuals who are self-
employed, seeking part-time employment, or otherwise would not qualify for regular UI
compensation. An individual must not be eligible for regular UI benefits and be unemployed,
partially unemployed, or unable or unavailable to work because of certain health or economic
consequences of the COVID-19 pandemic.
                                                6
        Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 7 of 15



       25.     The purported IRS Form SS-4 provided to MD DOL indicated that DALES was

the sole member of a purported business known as KNW Group, with a mailing address of

5522 Wesley Ave in Gwynn Oak, Maryland. The EIN number assigned to KNW Group on the

SS-4 is XX-XXXXXXX, and was issued on April 6, 2018, which was during the period of time when

DALES was incarcerated.

       26.     Open-source research indicates that 5522 Wesley Avenue in Gwynn Oak,

Maryland, the address listed on the application, is a 1,560 square foot single-family home, and is

owned by Kenneth and Annette Dales, whom your affiant believes to be DALESs father and

mother based on database searches.

       27.     The purported IRS Form Schedule C provided to MD-DOL covered the 2019 tax

year and listed the proprietorship name as Knw Gr86oup (KG), which allegedly provided

beautician services. Line item 7 on the Schedule C indicated a gross profit for KG of

$144,112.35, with total expenses adding up to $45,031determining KG a net profit of

$99,081.35.

       28.     Your affiant obtained and reviewed tax returns and documents associated with

DALES and/or KG from the IRS.

       29.     In the 2019 IRS Form 1040 tax return for DALES, line 7a, reads Other income

from Schedule 1, line 9. I know from knowledge, training, and experience, that a Schedule 1 is

an attachment to IRS Form 1040 that reports a tax filers additional income, including ones

business income or loss which is further documented by way of the IRS Form Schedule C 

Profit or Loss from Business (Sole Proprietorship). On DALESs 2019 IRS Form 1040 tax

return, line 7a was blank, and there was no supplemental Schedule 1 or Schedule C.




                                                7
            Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 8 of 15



        30.      On DALESs 2020 IRS Form 1040 tax return, line 8 reads Other income from

Schedule 1, line 9. As mentioned above, the Schedule 1 is where an individual reports

additional income, including business income or loss derived from a Sole Proprietorship, and

documented on a Schedule C. On DALESs 2020 IRS Form 1040 tax return, no income was

listed on line 8, and there was no supplemental Schedule 1 or Schedule C. The return also

indicated that DALES was unemployed at the time of the Form 1040 filing.

        31.      The IRS thus has no record of an IRS Form Schedule C having been filed by

DALES for the 2019 and 2020 tax years. Of course, DALES was incarcerated during the

timeframe in which the purported Schedule C provided to MD DOL indicated that DALES

owned/operated a sole proprietorship earning net profits of $99,081.35. Accordingly, I believe

that the IRS Form Schedule C for KG uploaded to support DALESs PUA claim was false and

fraudulent and utilized to obtain and maximize UI benefits for which DALES was not otherwise

eligible.

        32.      Indeed, as a result of the documentation provided in support of DALESs claim,

MD DOL paid approximately $25,570 between August 2021 and September 2021. In addition,

MD DOL records indicate that DALESs PUA claim was backdated to the date his purported

unemployment began, with an effective date of December 2020. The listed email address on the

application again was theycallmedales@gmail.com.

        33.      According to MD DOL, DALES was eligible for a PUA claim without being

required to provide a Schedule C, but the claim would have only paid a minimum weekly benefit

amount of $130. As a result of DALESs use of the Schedule C, the weekly benefit amount was

increased to a maximum of $430 per week.

                         December 2020  Dales Drop EIDL Application



                                                 8
           Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 9 of 15



       34.      On or about December 29, 2020, an EIDL application (#3315854229) for

business Ryan Dales, d/b/a Dales Drop Inc. (DALES DROP) was submitted to the SBA,

an entity whose servers are located outside of the District of Maryland.

       35.      The application provided a social security number (SSN) or employer

identification number (EIN) ending in 8181, identical to the SSN belonging to DALES. The

telephone number associated with the application was (443) 652-7684. I know from U.S.

Probation and Pretrial Services in the District of Maryland that DALES uses this number to

communicate with his probation officer. Additionally, the email address provided on the EIDL

application was Theycallmedales@gmail.com, an accountaccording to records provided by

Googlewhich belongs to DALES. 3

       36.      According to information contained in the application, DALES DROP is an

agriculture business established on March 15, 2018 (when DALES was federally

incarcerated), with three (3) employees and 2019 gross revenue of approximately $10,000, and

$6,000 in costs of goods sold.

       37.      The application for DALES DROP listed a primary business address of 3231

Southgreen Rd, in Windsor Mill, MD 21244a residential address in Baltimore County,

Maryland. Open-source research indicates this is a single-family residence, which was sold by

Evelyn J Dales on December 10, 2020, for approximately $235,000.

       38.      The following question on the application was answered No in the subsection

titled Additional Information, item a.:




       3
          The account is subscribed to DALES, lists his true date of birth in March of 1988, along
with a telephone number of (443) 652-7684 as a contact method.


                                                9
        Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 10 of 15




       39.      Again, I know that DALES had a past fraud conviction within five years of the

date of this application, thus making him ineligible for EIDL funding. 4

       40.      SBA records show that the application was ultimately denied due to

unsatisfactory credit history.

                       March 2021  Cross River Bank PPP Application

       41.      On or about March 24, 2021, a PPP loan application was submitted online to Cross

River Bank, an SBA approved lender, from owner Ryan Dales, with a provided signer ID and

email address of theycallmedales@gmail.com. The application asserted over $8,000 in average

monthly payroll for the sole proprietorship, and sought more than $20,000 in funds for payroll,

rent/mortgage interest, utilities, and covered operations, expenditures, and covered supplier costs.

The application listed a business start date of 08/2018a time when DALES would have been

incarcerated.

       42.      Again, the application listed, among other things, telephone number (443) 652-

7684a number known to be used by DALES (discussed above) and DALESs real date of birth,

as it appears on his Maryland Identification Card. The address provided was 5522 Wesley Ave,

Baltimore (Windsor Mill), Maryland, 21207an address believed to belong to DALESs parents,

as noted above.




       4
         As noted above, on November 27, 2017, DALES was convicted of one count of bank
fraud conspiracy and one count of aggravated identity theftboth felonies.


                                                 10
       Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 11 of 15



       43.     The application to Cross River Bank included a purported 2019 IRS Form Schedule

C. The Schedule C listed DALESs name, an address of 5522 Wesley Ave, Baltimore, Maryland,

his actual SSN ending in 8181, and stated that DALESs principal business was home

improvement. On the Schedule C, line G, Yes, was answered to the question whether of

whether DALES did materially participate in the operation of this business during 2019. As

noted, DALES was incarcerated during the entirety of 2019, so this was a false and fraudulent

representation. Line item 7 of the purported Schedule C listed a gross profit of $113,219, and line

28 listed total expenses of $10,117  yielding a net income of $103,102.

       44.     The DALES application to Cross River Bank also contained a color image of

DALESs actual Maryland Identification Card (D-420-755-234-159), which listed his home

address as 3231 Southgreen Rd, Windsor Mill, Maryland, 21244. The application further included

a Wells Fargo bank statement for a checking account ending in 0800, which listed DALES in the

header as the purported account holder. The applicant further uploaded a fillable portable

document file (i.e. PDF) of a voided check from Navy Federal Credit Union for a checking

account ending in 0799, which listed DALESs name and an address in Hyattsville, Maryland.

This check image was dated March 8, 2021.

       45.     DALES would have been incarcerated during his alleged business formation, the

entire 2019 tax year, and under supervised release conditions from prison at the time indicated on

the voided check. The PPP loan ultimately did not close.

                              Google Accounts Linked to DALES

       46.     On or about June 22, 2022, United States Magistrate Judge Brendan A. Hurson

issued a federal search warrant for the Google account theycallmedales@gmail.com, which was

the email account listed on the UI, PPP, and EIDL applications referenced above. On June 29,


                                                11
         Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 12 of 15



2022, Google provided records that indicated the account was created in 2009 and registered to

Ryan Dales. The Google records list DALESs true date and month of birth in 1988 and a

recovery phone number of 443-652-7684.

         47.   Your affiant and other federal agents reviewed the contents of the Google

account, and found multiple emails with the Maryland Department of Labor regarding UI. Law

enforcement also found emails in which DALES was being warned that he had an insufficient

funds balance or was declined for lines of credit with Wells Fargo and Navy Federal Credit

Union.

         48.   On or about May 1, 2021, the theycallmedales@gmail.com address received an

email from an automotive retailer indicating that a cash payment of $64,690 had been requested

for the purchase of a 2017 Mercedes Benz S-Class vehicle, though it is unclear if the sale in fact

went through. 5 Additional emails revealed that, in or about January 2022, DALES began residing

at Anthem House, a luxury rental apartment building in the Locust Point area of Baltimore City. 6

         49.   On or about November 10, 2022, United States Magistrate Judge Matthew J.

Maddox issued a federal search warrant additional Google accounts linked to DALES

dalesbackup1@gmail.com, ryane.dales@gmail.com, and rocdello@gmail.com.

         50.   On or about December 19, 2022, Google provided records that indicated

dalesbackup1@gmail.com was subscribed to Dales Dales.            The account was created on

December 10, 2020the day after DALES began residing at the VOA Halfway House. This was



         5
        On May 1, 2021, DALES received an email with a confirmation number approximately
30 minutes after reserving or ordering the vehicle.
         6
         On or about December 12, 2022, Bozzuto, the management company for Anthem
House, provided records showing that on or about January 22, 2022, DALES had signed a one-
year lease for a two-bedroom, two-bathroom apartment with monthly rent due of $3,064. As of
December 2022, DALES was delinquent in rent payments by approximately four months.
                                               12
       Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 13 of 15



only five (5) days before DALES submitted an unemployment claim under the Maryland regular

UI program, representing he was self-employed; and nineteen (19) days before DALES submitted

an EIDL application to the SBA in the business name of Ryan Dales dba Dales Drop Inc. The

recovery SMS number for the account was 443-652-7684. Again, this is the same number listed

on the EIDL application for the purported business Dales Drop Inc. and the same number I know

DALES used to contact his Probation Officer during his current term of supervised release.

       51.    A review of the content of Google accounts ryane.dales@gmail.com,

dalesbackup1@gmail.com, rocdello@gmail.com revealed, among other things, multiple emails

from banking and money transfer institutions such as PayPal and Venmo linked to the email

accounts. The subscriber for ryane.dales@gmail.com was Ryan Dales with a recovery email of

rocdello@gmail.com.

                             Apple Accounts Linked to DALES

       52.    On or about November 10, 2022, United States Magistrate Judge Matthew J.

Maddox issued a federal search warrant for the Apple IDs theycallmedales@gmail.com,

ryane.dales@gmail.com, and rocdello@gmail.com.

       53.    Apple subscriber information revealed all three accounts were registered to Ryan

Dales, with associated address 3231 Southgreen Road, Windsor Mill, Maryland. 7 Apple DSID

1328853765 (Apple ID ryane.dales@gmail.com) was associated with phone number 443-652-

7684the same phone number used on the EIDL and PPP loan applications referenced above.

       54.    A review of iCloud records for Apple ID ryane.dales@gmail.com revealed dozens

of drivers license or mug-shot style photographs of individuals who were not DALES. Several



       7
       As noted above, 3231 Southgreen Rd., Baltimore, Maryland is the address listed on the
EIDL application submitted for the purported sole-proprietorship Dales Drop Inc.
                                              13
        Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 14 of 15



of these photographs were also found on separate images of Drivers Licenses or State

Identification (ID) cards. Some of the ID cards contained the same photo, but different Personal

Identifiable Information (PII) listed on the ID.

       55.     For example, the search warrant results included a single image of an unknown

black male wearing a gray zip-up hoodie in front of a solid off-white background. Your affiant

has located the same image in at least four other identification documents: three Maryland Drivers

Licenses and one South Carolina Drivers License, all containing different PII. Queries with the

Maryland Motor Vehicle Administration (MVA) indicated the PII on one of the Maryland licenses

belonged to a white male who was 61 and 200lbs, not the black male pictured and listed as 58

and 163lbs. The second Maryland License did not return any results when the Drivers License

number was queried with the MVA, indicating it may be fictitious. The third Maryland Drivers

license with the same photo listed DALESs name and date of birth, although it is not believed

that the photo is of DALES.

       56.     Your affiant and other law enforcement personnel also found images linked to

Apple ID ryane.dales@gmail.com of pay stubs or earnings statements in several different names.

A document dated September 1, 2020, was labeled as an Earnings Statement for DALES from a

purported production company with a net pay of $20,660.76 and year-to-date net pay of

$61,982.28. 8 As referenced above, DALES was released from the Bureau of Prisons and resided

at a halfway house beginning on December 9, 2020.

                                         CONCLUSION




       8
         I have not been able to find any record of articles of organization of incorporation filed
with the State of Maryland for this purported business.
                                                   14
       Case 1:23-mj-00190-BAH Document 1-1 Filed 01/17/23 Page 15 of 15



       57.    In sum, based on the information in this affidavit, there is probable cause to believe

that, on or about December 15, 2020, DALES committed Wire Fraud, in violation of 18 U.S.C. §

1343, in the District of Maryland. Accordingly, I respectfully request the Court authorize a

Criminal Complaint and Arrest Warrant for DALES.



                                             Respectfully submitted,



                                             ___________________________
                                             _______________________________
                                             Special Agent Brian Gorman
                                             U.S. Department of Labor
                                             Office of Inspector General




Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3) this _____________ of January 2023.



_______________________________________
THE HONORABLE BRENDAN A. HURSON
UNITED STATES MAGISTRATE JUDGE




                                               15
